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          10                              UNITED STATES DISTRICT COURT
          11                           SOUTHERN DISTRICT OF CALIFORNIA
          12
                 PERSIAN GULF INC., individually and           CASE NO. 3:15-cv-01749-L-BGS
          13     on behalf of all others similarly situated,
                                                               DEFENDANTS’ REQUEST FOR
          14                         Plaintiff,                JUDICIAL NOTICE IN SUPPORT OF
                                                               DEFENDANTS’ JOINT MOTION TO
          15           v.                                      DISMISS PLAINTIFF’S FIRST
                                                               AMENDED COMPLAINT
          16     BP WEST COAST PRODUCTS LLC;
                 CHEVRON U.S.A. INC.; TESORO
          17     REFINING & MARKETING
                 COMPANY LLC; EQUILON                          SPECIAL BRIEFING SCHEDULE
          18     ENTERPRISES LLC (D/B/A SHELL                  ORDERED PER LOCAL RULE 7.1(E):
                 OIL PRODUCTS US); EXXONMOBIL                  Pursuant to Court Order (Dkt. 80),
          19     REFINING & SUPPLY COMPANY;                    Defendants’ Joint Motion to Dismiss
                 VALERO MARKETING & SUPPLY                     FAC shall be filed and served no later
          20     COMPANY; CONOCOPHILLIPS;                      than October 17, 2016
                 ALON USA ENERGY, INC.; and
          21     DOES 1-25, inclusive,
                                                               Hearing:
          22                         Defendants.               Date:      Dec. 5, 2016
                                                               Time:      10:30 a.m.
          23                                                   Place:     Courtroom 5B
                                                               Judge:     Hon. M. James Lorenz
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            1          Pursuant to Rule 201 of the Federal Rules of Evidence and related authorities,
            2    Defendants BP West Coast Products LLC, Chevron U.S.A. Inc., Tesoro Refining &
            3    Marketing Company LLC, Equilon Enterprises LLC (d/b/a Shell Oil Products US),
            4    ExxonMobil Refining & Supply Company, ConocoPhillips, Alon USA Energy, Inc.,
            5    and Valero Marketing & Supply Company (“Defendants”) respectfully request that
            6    this Court take judicial notice of the Exhibits attached to the concurrently filed
            7    Declaration of Steven Sletten in Support of Defendants’ Request for Judicial Notice
            8    when considering Defendants’ Joint Motion to Dismiss Plaintiff’s First Amended
            9    Complaint:
          10         Exhibit 1: Exhibit 1 to the Declaration of David Han is a computer-generated
          11           comparison (commonly called a “redline”) of Plaintiff’s Complaint (Dkt. No.
          12           56) and Plaintiff’s First Amended Complaint (Dkt. No. 76). Blue type indicates
          13           an “Insertion,” i.e., text that is in the First Amended Complaint that was not in
          14           the Complaint. Red type with a strikethrough indicates a “Deletion,” i.e., text
          15           that was in the Complaint that is not present in the First Amended Complaint.
          16           Green type indicates that text was “Moved from” or “Moved to,” i.e., the same
          17           exact text appears in both complaints, but it appears in different places in the
          18           document. Green text with a strikethrough indicates where the text was moved
          19           from, and green text without a strikethrough indicates where it was moved to.
          20           The computer-generated comparison does not compare, and thus does not show
          21           changes (if any), to the signature block or the CM-ECF generated header for
          22           electronic filings.
          23         Exhibit 2: Press Release, Consumer Watchdog, Consumer Watchdog Tells So
          24           Cal Drivers Fill Up Now, Gas Prices to Rise Quickly as Major Refiners Switch
          25           to Summer Blend and Raise Prices on Their Dealers by 37 Cents Overnight
          26           (Feb. 25, 2016) (cited in First Am. Compl. ¶ 81 n.93), available at
          27           http://www.consumerwatchdog.org/newsrelease/consumer-watchdog-tells-so-
          28           cal-drivers-fill-now-gas-prices-rise-quickly-major-refiners-s.

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            1        Exhibit 3: Gordon Schremp, Recent Fuel Price Trends, Market Overview &
            2          Contributing Factors: Petroleum Market Advisory Committee Meeting, Cal.
            3          Energy Comm’n (June 30, 2015) (cited in First Am. Compl., ¶ 57 n.49),
            4          available at http://www.energy.ca.gov/assessments/petroleum_market/2015-06-
            5          30/presentations/Recent_Fuel_Price_Trends_Market_Overview_and_Contributi
            6          ng_Factors.pdf.
            7        Exhibit 4: Robert McCullough, “Analysis of West Coast Gasoline Prices,”
            8          McCullough Research (June 5, 2012) (cited in First Am. Compl., ¶¶ 2 n.1, 3),
            9          available at http://www.mresearch.com/pdfs/470.pdf.
          10           The Court may take judicial notice of these Exhibits in considering Defendants’
          11     joint motion to dismiss. In re Sony Gaming Networks & Customer Data Sec. Brecah
          12     Litig., 903 F. Supp. 2d 942, 954 (S.D. Cal. 2012) (“The Court may take judicial notice
          13     on a motion to dismiss under Rule 12(b)(6).”). Federal Rule of Evidence 201
          14     authorizes judicial notice of facts that are not “subject to reasonable dispute in that
          15     [they] are capable of accurate and ready determination by resort to sources whose
          16     accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). When deciding a
          17     Rule 12 motion, a court may “take into account documents ‘whose contents are alleged
          18     in a complaint and whose authenticity no party questions, but which are not physically
          19     attached to the [plaintiff’s] pleading.’” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th
          20     Cir. 2005) (internal citation omitted). The Ninth Circuit has further held that the
          21     “rationale of the ‘incorporation by reference’ doctrine applies with equal force to
          22     internet pages as it does to printed material.” Id.
          23           Exhibit 1: Exhibit 1 is “capable of accurate and ready determination by resort
          24     to sources whose accuracy cannot reasonably be questioned” because it compares two
          25     filings on the federal court’s electronic filing and docketing system known as the
          26     Public Access to Court Electronic Records (“PACER”) system. Accordingly, it is
          27     properly subject to judicial notice. Fed. R. Evid. 201(b); Kim v. Shellpoint Partners,
          28     LLC, 2016 WL 1241541, at *3 (S.D. Cal. Mar. 30, 2016) (taking judicial notice of “a

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            1    redline comparison of [plaintiff’s] original complaint and her FAC” because “it’s
            2    capable of accurate and ready determination by resort to resources whose accuracy
            3    cannot reasonably be questioned”); In re Hypercom Corp. Sec. Litig., 2006 WL
            4    1836181, at *2 (D. Ariz. July 5, 2006) (taking judicial notice of “a redline comparison
            5    of [plaintiffs’] first and second amended complaints”).
            6          Exhibits 2-4: Persian Gulf’s First Amended Complaint refers to, and relies
            7    upon, Exhibits 2, 3 and 4 without including the print-outs of these sources. Knievel,
            8    393 F.3d at 1076 (noting that the “incorporation by reference” doctrine permits courts
            9    “to take into account documents whose contents are alleged in a complaint and whose
          10     authenticity no party questions, but which are not physically attached to the plaintiff’s
          11     pleading”) (internal quotations and citation omitted). Moreover, Plaintiff cannot
          12     reasonably dispute the authenticity of these Exhibits, and district courts in the Ninth
          13     Circuit have routinely taken judicial notice of “webpages or documents [that were]
          14     specifically referred to in the [complaint].” In re iPhone 4S Consumer Litig., 2013 WL
          15     3829653, at *6 (N.D. Cal. July 23, 2013); see also, e.g., In re Yahoo! Inc. Shareholder
          16     Derivative Litig., --- F. Supp. 3d ----, 2015 WL 9319307, at *5 (N.D. Cal. Dec. 23,
          17     2015) (taking judicial notice of the exhibits “referenced in the Complaint”); Perkins v.
          18     LinkedIn Corp., 53 F. Supp. 3d 1190, 1205 (N.D. Cal. June 12, 2014) (same); Williams
          19     v. Oberon Media, Inc., 2010 WL 1644888, at *1 n.1 (C.D. Cal. Mar. 4, 2010) (taking
          20     judicial notice of a “screenshot of [a] webpage” that was “incorporated by reference in
          21     Plaintiffs’ Complaint”).
          22           In sum, Defendants respectfully request that the Court take judicial notice of the
          23     attached Exhibits that are “capable of accurate and ready determination by resort to
          24     sources whose accuracy cannot reasonably be questioned” (Fed. R. Evid. 201(b)) and
          25     that Plaintiff incorporated by reference in its First Amended Complaint.
          26

          27     DATED: October 17, 2016
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          14     Signature Certification
          15     Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
          16     Procedures Manual, I hereby certify that the content of this document is acceptable to
          17     David C. Kiernan, counsel for Tesoro Refining & Marketing Company, LLC; Kent M.
          18     Roger, counsel for Equilon Enterprises LLC doing business as Shell Oil Products US;
          19     Charles C. Lifland, counsel for Exxon Mobil Refining & Supply Co.; Robin A.
          20     Wofford, counsel for Exxon Mobil Refining & Supply Co.; Michael De Leeuw,
          21     counsel for Alon U.S.A. Energy, Inc.; Diane Lee McGimsey, counsel for BP West
          22     Coast Products LLC; Robert Phelps, counsel for Valero Marketing and Supply
          23     Company; and John C. Gray, counsel for Conoco Phillips, and that I have obtained
          24     each of the foregoing persons’ authorization to affix his or her electronic signature to
          25     this document.
          26

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                                                        By: s/ Steven E. Sletten
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                                                                      STEVEN E. SLETTEN
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